EXHIBIT

   1
                         UNITED STATES DISTRICT COURT

                            DISTRICT OF CONNECTICUT


GILEAD COMMUNITY SERVICES, INC., :                 NO.: 3:17-CV-00627-VAB
ET AL                            :
                                 :
v.                               :
                                 :
TOWN OF CROMWELL, ET AL          :                 March 23, 2018


                        DISCLOSURE OF EXPERT WITNESS

      Pursuant to Fed. R. Civ. P. 26 (a) (2), the defendants, Town of Cromwell, Enzo

Faienza, Anthony Salvatore and Jillian Massey, hereby submit the following disclosure

of expert witness:

      I.     Robert “Nick” Autorina
             WFN Consulting, LLC
             123 Church Street, Suite 200
             Marietta, GA 30060

   The following documents, which provide the information required by Fed. R. Civ. P.
   26 (a) (2), are attached hereto and incorporated by reference:

      (1)    Report of Robert “Nick” Autorina Dated March 22, 2018

      (2)    Curriculum Vitae of Nick Autorina

      (3)    A list of cases in which Nick Autorina provided testimony at trial or
             deposition.

     The defendants reserve the right to supplement and/or amend this disclosure as
may be necessary prior to trial.
DEFENDANTS,
TOWN OF CROMWELL, ENZO FAIENZA,
ANTHONY SALVATORE and JILLIAN
MASSEY



By /s/ Thomas R. Gerarde
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                                  CERTIFICATION

    This is to certify that on March 23, 2018 a copy of the foregoing DISCLOSURE OF
EXPERT WITNESS was served by electronic mail on the following counsel of record:
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                                         /s/ Thomas R. Gerarde
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